Case 4:18-cv-00179-ALM-KPJ Document 1 Filed 03/19/18 Page 1 of 7 PageID #: 1



                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


 DAWN M. CLARK,
                                                     CIVIL COMPLAINT
              Plaintiff,

 v.                                                  CASE NO. 4:18-cv-00179

 ADT LLC d/b/a ADT SECURITY
 SERVICES,                                           JURY DEMAND

              Defendant.


                                          COMPLAINT

        NOW comes DAWN M. CLARK (“Plaintiff”), by and through her attorneys, Sulaiman Law

Group, Ltd. (“Sulaiman”), complaining as to the conduct of ADT LLC d/b/a ADT SECURITY

SERVICES (“Defendant”), as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. § 227 et seq. and the Texas Debt Collection Act (“TDCA”) under

Tex. Fin. Code Ann. § 392 et seq. for Defendant’s unlawful conduct.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C § 227, 28 U.S.C. §§ 1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. § 1367.




                                                 1
Case 4:18-cv-00179-ALM-KPJ Document 1 Filed 03/19/18 Page 2 of 7 PageID #: 2



   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Eastern District of Texas and a substantial portion of the events or omissions giving rise to

the claims occurred within the Eastern District of Texas.

                                              PARTIES

   4. Plaintiff is a 38 year old natural “person,” as defined by 47 U.S.C. § 153(39), residing at

7801 Tournament Road, Frisco, Texas, which lies within the Eastern District of Texas.

   5. Defendant is a home security company that provides a variety of services related to

residential security. Defendant is a corporation organized under the laws of the state of Delaware

with its principal place of business located at 1501 Yamato Road, Boca Raton, Florida.

   6. Defendant is a “person” as defined by 47 U.S.C. § 153(39).

   7. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   8. The instant action arises out of Defendant’s attempts to collect upon an outstanding debt

(“subject debt”) said to result from security products Plaintiff purchased from Defendant.

   9. In approximately November of 2017, Plaintiff began receiving calls to her cellular phone,

(407) XXX-4617, from Defendant.

   10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 4617. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

   11. Defendant uses several different phone numbers when placing calls to Plaintiff’s cellular

phone, including but not limited to: (855) 238-3600, (844) 691-3875, and (866) 843-0374.



                                                  2
Case 4:18-cv-00179-ALM-KPJ Document 1 Filed 03/19/18 Page 3 of 7 PageID #: 3



   12. Upon information and belief, the above referenced phone numbers are regularly utilized

by Defendant during its debt collection activities.

   13. During answered calls from Defendant, Plaintiff experiences a pre-recorded message

directing her to hold before she is connected with a live representative.

   14. Upon speaking with Defendant, Plaintiff was informed it was seeking to collect upon the

subject debt.

   15. Due to the harassing frequency and nature of Defendant’s contact efforts, including

receiving phone calls very early in the morning, Plaintiff demanded that Defendant stop calling

her cell phone.

   16. Plaintiff reiterated this demand on several occasions, which was often met with a hostile

response from Defendant.

   17. During one conversation where Plaintiff asked that the phone calls stop, Defendant’s

representative screamed “PAY YOUR BILL” at Plaintiff.

   18. During another conversation, Defendant’s representative stated that there was no way to

stop the phone calls until Plaintiff addressed the subject debt.

   19. Notwithstanding Plaintiff’s several demands, Defendant has continued to relentlessly

contact Plaintiff’s cellular phone on a near daily basis up until the filing of the instant complaint.

   20. Plaintiff has received not less than 30 phone calls from Defendant since asking it to stop

contacting her.

   21. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

resulting in expenses.

   22. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.




                                                  3
Case 4:18-cv-00179-ALM-KPJ Document 1 Filed 03/19/18 Page 4 of 7 PageID #: 4



   23. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to: invasion of privacy, aggravation that accompanies collection telephone calls, emotional

distress, increased risk of personal injury resulting from the distraction caused by the never-ending

calls, increased usage of her telephone services, loss of cellular phone capacity, diminished cellular

phone functionality, decreased battery life on her cellular phone, and diminished space for data

storage on her cellular phone.

          COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   24.    Plaintiff repeats and realleges paragraphs 1 through 23 as though fully set forth herein.

   25.    The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   26.    Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. During answered calls from Defendant, Plaintiff experiences a pre-

recorded message directing her to hold before being connected to a live representative, which is

instructive that an ATDS is being utilized to generate the calls. Furthermore, Defendant’s

representative’s statement that the calls could not be stopped similarly suggests that an ATDS was

used to place the phone calls. Even further, the nature and frequency of Defendant’s contacts points

to the involvement of an ATDS.

   27. Defendant violated the TCPA by placing at least 30 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Any consent Plaintiff may have given to Defendant




                                                  4
Case 4:18-cv-00179-ALM-KPJ Document 1 Filed 03/19/18 Page 5 of 7 PageID #: 5



through her purchasing its products and services was explicitly revoked by her demands that it

cease contacting her.

   28. The calls placed by Defendant to Plaintiff were regarding business transactions and not

for emergency purposes as defined by the TCPA under 47 U.S.C. § 227(b)(1)(A)(i).

   29.   Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, DAWN M. CLARK, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages pursuant
      to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.

               COUNT II – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   30. Plaintiff restates and realleges paragraphs 1 through 29 as though fully set forth herein.

   31. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   32. Defendant is a “debt collector” as defined by Tex. Fin. Code Ann. § 392.001(6).

   33. The subject debt is a “consumer debt” as defined by Tex. Fin. Code Ann. § 392.001(2) as

it is an obligation, or alleged obligation, arising from a transaction for personal, family, or

household purposes.



                                                5
Case 4:18-cv-00179-ALM-KPJ Document 1 Filed 03/19/18 Page 6 of 7 PageID #: 6



           a. Violations of TDCA § 392.302

   34. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

   35. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

30 times after she notified it to stop calling. The repeated contacts were made with the hope that

Plaintiff would succumb to the harassing behavior and ultimately make a payment on the subject

debt. The nature and volume of phone calls would naturally cause an individual to feel oppressed,

especially when such calls are placed after an individual has made it clear that the calls are

inconvenient. Defendant’s intent to harass Plaintiff is further evident through the comments made

by Defendant’s representatives during conversations between Plaintiff and Defendant.

   36. Upon being told to stop calling several times, Defendant had ample reasons to be aware

that it should not continue its harassing campaign of collection calls to Plaintiff. Yet, Defendant

consciously chose to continue placing calls to Plaintiff’s cellular phone.

   WHEREFORE, Plaintiff, DAWN M. CLARK, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1).

   c. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2).

   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann. §
      392.403(b);

                                                 6
Case 4:18-cv-00179-ALM-KPJ Document 1 Filed 03/19/18 Page 7 of 7 PageID #: 7




   f. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: March 19, 2018                              Respectfully submitted,

s/ Nathan C. Volheim                               s/Taxiarchis Hatzidimitriadis
Nathan C. Volheim, Esq. #6302103                   Taxiarchis Hatzidimitriadis, Esq. #6319225
Counsel for Plaintiff                              Counsel for Plaintiff
Admitted in the Eastern District of Texas          Admitted in the Eastern District of Texas
Sulaiman Law Group, Ltd.                           Sulaiman Law Group, Ltd.
2500 South Highland Ave., Suite 200                2500 South Highland Ave., Suite 200
Lombard, Illinois 60148                            Lombard, Illinois 60148
(630) 568-3056 (phone)                             (630) 581-5858 (phone)
(630) 575-8188 (fax)                               (630) 575-8188 (fax)
nvolheim@sulaimanlaw.com                           thatz@sulaimanlaw.com




                                              7
